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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               EL DORADO DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF


v.                                  Case No. 1:20-cr-10003


FREDERICK RAINEY                                                                 DEFENDANT

                                           ORDER

       Before the Court is a Motion to Dismiss filed by the United States of America. ECF No.

37. The United States moves the Court to dismiss the Indictment as to Frederick Rainey. Upon

consideration, pursuant to Fed. R. Crim. P. 48(a), the Court finds that the motion should be and

hereby is GRANTED. Accordingly, the Indictment is DISMISSED.

       IT IS SO ORDERED, this 2nd day of October, 2020.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           Chief United States District Judge
